                                                                   Filed: August 30, 2024

        UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                    ORAL ARGUMENT NOTIFICATION

ORAL ARGUMENT          Please take notice that this case has been scheduled for oral
NOTIFICATION           argument as set forth below.

CASE                   No. 23-1418,     State of West Virginia v. EPA
                                        EPA-R03-OAR-2021-0873

PLACE                  Lewis F. Powell, Jr., United States Courthouse
                       1000 East Main Street
                       Richmond, Virginia 23219

ENTRANCE &             Enter at 1000 East Main St. and check-in at Room 101 (Library)
CHECK-IN               The entrance opens at 7:30 AM during court week.

DATE                   10/30/2024

SESSION STARTING       9:30 am
TIME

CHECK-IN TIME          8:45 - 9:00 am

ORAL ARGUMENT          Arguing counsel must file the ORAL ARGUMENT
ACKNOWLEDGMENT         ACKNOWLEDGMENT FORM within 7 calendar days of
FORM TO BE FILED       service of this notification. (Click link to access form. ECF
WITHIN 7 DAYS          Event: Oral Argument Acknowledgement.)

COURTHOUSE                •   Picture ID is required.
INFORMATION               •   No food, water, other beverages, or potential weapons
                              allowed.
                          •   Electronic devices permitted for counsel and their staff.
                              Devices must be turned off in the courtroom, unless being
                              used by counsel (in silent mode) during presentation of
                              argument.
                          •   For hearing assistance or other access accommodations,
                              call 804-916-2714 in advance of argument date.
                          •   Directions, hotel, and parking information are available at
                              www.ca4.uscourts.gov/oral-argument/visiting-the-
                              court .

CJA CASES              CJA attorneys traveling by plane or train must submit a Travel
                       Authorization through CJA eVoucher with an estimated ticket
                       cost (use YCA rate in City-Pair Government Coach Airfares).
                       Once the court has approved the Travel Voucher through CJA
                      eVoucher, counsel should call the National Travel Service at 800-
                      445-0668 to obtain government-rate plane or train reservations.

ARGUMENT TIME         Each side is normally allowed 20 minutes; if more than one
                      attorney is arguing per side, they must agree on how the time is to
                      be divided. In social security, black lung, and labor cases in
                      which the issue is whether the agency's decision is supported by
                      substantial evidence, and in criminal cases in which the issue is
                      application of the sentencing guidelines, each side is limited to 15
                      minutes. In en banc cases, each side receives 30 minutes.
                      Appellants & cross-appellants may reserve up to 1/3 of the time
                      for rebuttal.

IDENTITY OF PANEL &   The identity of the panel hearing a case is not disclosed until the
ORDER OF CASES        morning of argument. The order of cases is subject to change
                      until the morning of argument and is announced in the
                      courtroom.

MOTIONS TO SEAL       Any motion to seal the courtroom for oral argument must be filed
                      at least 5 days prior to argument and state whether opposing
                      counsel consents to the motion.
